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                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF COLORADO

 IN RE:                                                )
                                                       )       Case No. 12-10321 MER
 PEAK ‘N PRAIRIE LANDSCAPE &                           )
 RECLAMATION INC.                                      )
 EIN: XX-XXXXXXX                                       )       Chapter 11
                                                       )
    Debtor.                                            )



                   ORDER CONFIRMING PLAN OF REORGANIZATION
                            DATED OCTOBER 31, 2012

        The Plan of Reorganization dated October 31, 2012 (“Plan”) under Chapter 11 of the
 Bankruptcy Code filed by Peak ‘N Prairie Landscape & Reclamation, Inc. (“Debtor”) having
 come before the Court for confirmation, no objections having been filed, the Court having
 considered the Declaration of Peter Young in Support of Plan Confirmation, and the Court
 having reviewed the file, finds and Orders as follows:

        1.     That the Debtor has complied with all applicable provisions of Chapter 11 of the
 Bankruptcy Code, the Plan meets the requirements of Sections 1122 and 1123 of the Bankruptcy
 Code, and the Debtor has complied with Section 1125 of the Bankruptcy Code.

          2.     The provisions of Chapter 11 of the Bankruptcy Code have been complied with,
 in that the Plan has been proposed in good faith and not by any means forbidden by law.

        3.       That all insiders involved in the Debtor’s post-confirmation activities are
 disclosed in the Disclosure Statement along with their relationships to the Debtor.

        4.      That there exists no governmental regulatory commission having jurisdiction over
 the Debtor on setting rates and fees.

         5.     That each holder of a claim or interest has accepted the Plan or will receive or
 retain under the Plan property of a value, as of the effective date of the Plan, that is not less than
 the amount that such holder would receive or retain if the Debtor were liquidated under Chapter
 7 of the Code.

        6.      That all payments made or promised by the Debtor under the Plan or by any other
 person for services or costs and expenses in or in connection with the Plan or incident to the case
 have been fully disclosed to the Court and are reasonable or if to be fixed after confirmation of
 the Plan will be subject to approval of the Court.

        7.      That all attorneys' fees incurred pre-confirmation shall be subject to Court
 approval as to reasonableness pursuant to the applicable provisions of the Bankruptcy Code.
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         8.     That the Debtor has filed a Summary of Voting Results which is provided, in part,
 as follows:

            a. Class 1 consists of the allowed unsecured claims specified in Section 507(a)(4) or
    507(a)(5) of the Code as having priority. Class 1 has not voted to accept or reject the Plan,
    and is deemed to have accepted the Plan.

           b. Class 2 consists of the allowed secured claim held by Wells Fargo Bank. Class 2
    has not voted to accept or reject the Plan and is deemed to have accepted the Plan. In re
    Ruti-Sweetwater, 836 F.2d 1263 (10th Cir. 1988).

         c. Class 3 consists of the allowed secured claim held by Ford Motor Credit
    Company, LLC. Class 3 has voted to accept the Plan.

         d. Class 4 consists of the allowed secured claim held by Ford Motor Credit
    Company, LLC. Class 4 has voted to accept the Plan.

           e. Class 5 consists of creditors holding allowed general unsecured claims. Class 5
    has voted to accept the Plan.

           f. Class 6 consists of the interests held by pre-confirmation shareholders. Class 6
    has voted to accept the Plan.

        9.     That on the effective date of the Plan, all property of the estates will revest in the
 Debtor free and clear of all liens and claims, except as otherwise provided in the Plan or this
 Order.

         10.    The Debtor shall receive a discharge pursuant to Section 1141(d) upon the
 Effective Date of the Plan. The Effective Date of the Plan shall be the date of this Order.

         11.    That the discharge granted (a) avoids any judgment at any time obtained to the
 extent that such judgment is a determination of the liability of the Debtor with respect to any
 debt discharged under 11 U.S.C. Section 1141, whether or not discharge of such debt is waived;
 (b) operates as an injunction against the commencement or continuation of any action, the
 employment of process or any act to collect, recover or offset such debt as a personal liability of
 the Debtor or from property of the Debtor.

        IT IS HEREBY ORDERED

      That the Plan of Reorganization dated October 31, 2012, filed by the Debtor, is hereby
 CONFIRMED.

                               1st day of February, 2013 at Denver, Colorado.
        DONE and entered this _____

                                               BY THE COURT:
                                                      COU
                                                        URT
                                                         R :


                                               Honorable Michael E.. Romero
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